                                          Case 4:18-cv-05286-PJH Document 44 Filed 02/20/19 Page 1 of 4




                                  1

                                  2

                                  3

                                  4                                 UNITED STATES DISTRICT COURT

                                  5                                NORTHERN DISTRICT OF CALIFORNIA

                                  6

                                  7      INTEGRITYMESSAGEBOARDS.COM,
                                                                                       Case No. 18-cv-05286-PJH
                                  8                   Plaintiff,

                                  9             v.                                     ORDER DENYING MOTION TO
                                                                                       DISMISS
                                  10     FACEBOOK, INC.,
                                                                                       Re: Dkt. No. 25
                                  11                  Defendant.

                                  12
Northern District of California
 United States District Court




                                  13         Facebook, Inc.’s (“Facebook”) motion to dismiss came on for hearing before this
                                  14   court on February 13, 2019. Plaintiff IntegrityMessageBoards.com appeared through its
                                  15   counsel, Solomon Cera, Pamela Markert, and Seth Lesser. Defendant appeared through
                                  16   its counsel, Elizabeth Deeley and Susan Engel. Having read the papers filed by the
                                  17   parties and carefully considered their arguments and the relevant legal authority, and
                                  18   good cause appearing, the court hereby DENIES Facebook’s motion.
                                  19         Facebook provides users with an online platform to stay connected with family and
                                  20   friends. Compl. ¶ 1. Rather than charging users to access its platform, Facebook
                                  21   generates revenue by selling advertising on its platform to businesses seeking to market
                                  22   their products to Facebook users. Id. ¶ 3. “To fuel its massive advertising revenues,
                                  23   Facebook collects vast amounts of data concerning its users[,]” including data such as
                                  24   age, gender, work, education, location, etc. Id. ¶¶ 4-5. During the relevant period,
                                  25   Facebook also “acquired data concerning user demographics such as household income
                                  26   and homeownership from third party data providers.” Id. ¶ 5. Using this data, Facebook
                                  27   allowed advertisers to tell Facebook the type of user they wished to target, and Facebook
                                  28   represented that it would show the advertisements to the those types of users. Id. ¶ 7.
                                          Case 4:18-cv-05286-PJH Document 44 Filed 02/20/19 Page 2 of 4




                                  1           Plaintiff operates Investor Village, which offers a platform to individual “Main

                                  2    Street” investors to connect and communicate with other like-minded investors

                                  3    concerning publicly-traded stocks. Compl. ¶ 50. Plaintiff focuses its marketing efforts on

                                  4    more highly educated investors with substantial incomes and assets. Id. ¶ 51. Plaintiff

                                  5    operates its own website and an Investor Village Facebook page. Id. ¶ 53.

                                  6           To promote its Facebook page, plaintiff started two advertising campaigns—the

                                  7    Investor Village (“IV”) Campaign and the “Small Cap Directory” (“SCD”) Campaign—that

                                  8    attempted to target specific types of Facebook users. Id. ¶¶ 56-80. Like all Facebook

                                  9    advertisers, plaintiff used Facebook’s “Ads Manager” to launch its advertising campaigns.

                                  10   Id. ¶ 28. As relevant here, Ads Manager allows, and appears to encourage, advertisers

                                  11   to define the target audience that they wish their advertisement to be seen by or

                                  12   interacted with. Id. ¶¶ 28-49. Plaintiff’s IV Campaign began in August 2015 and targeted
Northern District of California
 United States District Court




                                  13   users aged 45 years or older, who had graduated college, owned a home, expressed an

                                  14   interest in investment, and had a household income of over $250,000. Id. ¶¶ 56-57.

                                  15   Plaintiff’s SCD Campaign began in January 2017 and targeted nearly the same

                                  16   demographic as the IV Campaign, but added users located in Canada and restricted the

                                  17   targeted household income to over $500,000. Id. ¶¶ 73-74.

                                  18          After launching the IV Campaign, plaintiff noticed that as of September 1, 2015,

                                  19   40% of the “Likes” generated by the campaign “were from users outside the target

                                  20   audience” (henceforth, “Outside Likers”). Id. ¶¶ 62-64. “Concerned that it may have set

                                  21   up the targeting incorrectly,” plaintiff continued the IV Campaign only after reviewing

                                  22   Facebook’s representations about Facebook’s targeting capabilities. Id. ¶ 65.

                                  23   Specifically, plaintiff reviewed Facebook’s representations that “when [advertisers] create

                                  24   a Facebook ad, [they] can choose the audience that should see it,” id. ¶ 21, that “with the

                                  25   ad creation tool, [advertisers] can choose the type of people who should see [their] ad,”

                                  26   and that Facebook will “serve [advertisements] in the places [advertisers] select[,]” id. ¶

                                  27   36. Over the next three months, plaintiff continued to monitor the campaign, continued to

                                  28   notice that a material percentage of the “Likes” generated by the campaign were from
                                                                                     2
                                          Case 4:18-cv-05286-PJH Document 44 Filed 02/20/19 Page 3 of 4




                                  1    users outside the targeted audience, and continued to rely on Facebook’s

                                  2    representations that it showed advertisements “to people within [plaintiff’s] target

                                  3    audience.” Compl. ¶¶ 41, 66-68. Plaintiff ultimately paid $1,409.69 to Facebook in

                                  4    connection with the IV Campaign. Id. ¶ 72.

                                  5           Plaintiff’s SCD Campaign fared little better. Again, after launching and monitoring

                                  6    the campaign, “plaintiff found that a material percentage of the “Likes” generated by the

                                  7    Campaign (for which plaintiff paid) were from users outside of plaintiff’s defined target

                                  8    audience[.]” Id. ¶ 77. Plaintiff paid Facebook $242.17 for “Likes” in connection with the

                                  9    SCD Campaign. Id. ¶ 80.

                                  10          “[W]hen plaintiff compared the list of Outside Likers from the SCD [ ] Campaign to

                                  11   the Outside Likers for the IV Campaign, there were overlaps.” Id. ¶ 78. Further, plaintiff’s

                                  12   analysis indicated that “many of the[ ] [Outside Likers] had a substantial number of
Northern District of California
 United States District Court




                                  13   seemingly unrelated page ‘Likes’ displayed on their Facebook profiles,” that those users

                                  14   “Liked” numerous pages in a row, and that the Outside Likers “Liked” many of the same

                                  15   unrelated pages. Id. ¶ 69

                                  16          Based on the above, plaintiff alleges that contrary to Facebook’s targeting-related

                                  17   representations, Facebook programmatically displays a material percentage of ads to

                                  18   users outside the defined target market and displays ads to “serial Likers” outside the

                                  19   defined target audience. Id. ¶ 79. Plaintiff allegedly relied on Facebook’s

                                  20   representations and Facebook’s conduct allegedly harmed plaintiff because plaintiff paid

                                  21   for all “impressions” or “Likes” generated by plaintiff’s campaigns, even those

                                  22   programmatically displayed to users plaintiff’s campaign did not target. Id. ¶¶ 65, 67, 71-

                                  23   72, 76, 80.

                                  24          On August 28, 2018, plaintiff filed this putative class action alleging Facebook’s

                                  25   advertising practices violate California’s Unfair Competition Law, Cal. Bus. & Prof. Code

                                  26   §§ 17200, et seq. Facebook subsequently moved to dismiss the complaint in its entirety.

                                  27          A motion to dismiss under Rule 12(b)(6) tests for the legal sufficiency of the claims

                                  28   alleged in the complaint. Ileto v. Glock, 349 F.3d 1191, 1199-1200 (9th Cir. 2003).
                                                                                     3
                                           Case 4:18-cv-05286-PJH Document 44 Filed 02/20/19 Page 4 of 4




                                  1    Under the minimal notice pleading requirements of Federal Rule of Civil Procedure 8,

                                  2    which requires that a complaint include a “short and plain statement of the claim showing

                                  3    that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2), a complaint may be

                                  4    dismissed under Rule 12(b)(6) if the plaintiff fails to state a cognizable legal theory, or

                                  5    has not alleged sufficient facts to support a cognizable legal theory. Somers v. Apple,

                                  6    Inc., 729 F.3d 953, 959 (9th Cir. 2013). Further, the Ninth Circuit has “specifically ruled

                                  7    that Rule 9(b)'s heightened pleading standards apply to claims for violations of the . . .

                                  8    UCL” because they sound in fraud. Kearns v. Ford Motor Co., 567 F.3d 1120, 1125-26

                                  9    (9th Cir. 2009) (fraud requires a misrepresentation, knowledge, intent to defraud/induce

                                  10   reliance, justifiable reliance, and damages).

                                  11          The court finds that plaintiff has pled facts sufficient to survive defendant’s motion

                                  12   to dismiss. In short, plaintiff alleges that Facebook represented that advertisers could
Northern District of California
 United States District Court




                                  13   “choose the audience who should see [their] ad” and that Facebook would “serve [the

                                  14   advertisements] in the place [the advertiser] selected.” Compl. ¶¶ 21, 36. Plaintiff relied

                                  15   on those representations and was harmed when Facebook allegedly, and contrary to its

                                  16   representations, programmatically displayed plaintiff’s advertisements to non-targeted

                                  17   users. Compl. ¶¶ 41, 66-68, 72, 79-80. The court finds that plaintiff’s allegations satisfy

                                  18   the UCL’s “reasonable consumer” test, see Williams v. Gerber Prod. Co., 552 F.3d 934,

                                  19   938 (9th Cir. 2008), and, if true, state a claim against Facebook.

                                  20          Accordingly, the court DENIES defendant’s motion to dismiss in its entirety.1

                                  21          IT IS SO ORDERED.

                                  22   Dated: February 20, 2019

                                  23                                                 __________________________________
                                                                                     PHYLLIS J. HAMILTON
                                  24                                                 United States District Judge
                                  25

                                  26
                                  27
                                       1
                                  28    Because the documents defendant requests judicial notice of do not meaningfully
                                       change the analysis, the court DENIES defendant’s request for judicial notice as moot.
                                                                                 4
